

Goetz v Barotz (2023 NY Slip Op 50430(U))



[*1]


Goetz v Barotz


2023 NY Slip Op 50430(U) [78 Misc 3d 132(A)]


Decided on May 10, 2023


Appellate Term, First Department


Published by New York State Law Reporting
Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be
published in the printed Official Reports.



Decided on May 10, 2023
SUPREME COURT, APPELLATE TERM, FIRST
DEPARTMENT

PRESENT: Hagler, P.J., Tisch, Michael, JJ.



570016/23

Rachel Goetz, Plaintiff-Respondent,
againstNorman Lewis Barotz as administrator of the Estate of
Madelaine Shapiro, and Norman Barotz,
Defendants-Appellants.




Defendants appeal from an order of the Small Claims Part of the Civil Court of the
City of New York, New York County (Debra Rose Samuels, J.), dated March 12, 2020,
which denied defendant Shapiro's motion to reargue (denominated as one for
reconsideration) a prior order denying her motion for summary judgment dismissing the
claim and for judgment on the counterclaim.




Per Curiam.
Order (Debra Rose Samuels, J.), dated March 12, 2020, dismissed, without costs, as
nonappealable.
Inasmuch as no appeal lies from the denial of a motion to reargue (see Smith v
Pereira, 176 AD3d 491, 492 [2019]) and no appeal has been taken from the original
October 2, 2019 order denying defendants' motion for summary judgment, defendants'
arguments addressed to that determination are not properly before us (see Stratakis v
Ryjov, 66 AD3d 411, 411-412 [2009]).
Defendants' remaining contentions are unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: May 10, 2023









